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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY
 --------------------------------------------------------------x
                                                               :
      In re                                                    :        Chapter 11
                                                               :
      BED BATH & BEYOND INC., et al.,                          :
                                                               :        Case No. 23-13359 (VFP)
                                                               :
                   Debtors.1                                   :        (Jointly Administered)
                                                               :
 --------------------------------------------------------------x

         RESERVATION OF RIGHTS AND OBJECTION OF SAFETY NATIONAL
     CASUALTY CORPORATION AS TO THE NOTICE OF MOTION TO MODIFY STAY
      AND PLAN INJUNCTION FOR LEAVE TO CONTINUE PENDING LITIGATION
       AGAINST DEBTOR TO RECOVER AGAINST DEBTOR’S INSURER AND FOR
                             RELATED RELIEF

           Safety National Casualty Corporation (“Safety National”), by and through the

 undersigned counsel, hereby files this objection and reservation of rights (the “Objection”) as to


 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
 650 Liberty Avenue, Union, New Jersey 07083.


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 the Notice of Motion for an Order Modifying the Automatic Stay and Plan Injunction to Allow

 Movant to Continue Pending Litigation Against the Debtor, to Recover Solely Against Debtor’s

 Insurer, Waiving the Provisions of Fed. R. Bankr. P. 4001(a)(3) and for Related Relief by Victoria

 Foster [Docket No. 2453] (the “Motion”). In support of this Reservation of Rights, Safety National

 respectfully states as follows:

          1.        On October 13, 2023, movant Victoria Foster (“Foster” or “Movant”) filed her

 Motion, requesting relief from the automatic stay and plan injunction to pursue claims against

 Debtor Bed Bath & Beyond, Inc. (the “Debtor”) to “recover solely against Debtor’s insurer,” under

 a certain lawsuit styled Foster v. Bed Bath & Beyond, Inc., et al., Case No. L-2348-21 filed on or

 about March 23, 2021 in the Superior Court of New Jersey, Law Division, Essex County (the

 “State Court Lawsuit”). The State Court Lawsuit includes claims (the “Foster Claim”) against the

 Debtor based on alleged injuries sustained by Foster on or about July 11, 2020, while using a

 product purchased from a Bed Bath & Beyond store located in New Jersey. The Motion requests

 that Foster be allowed to pursue the Foster Claim against the Debtor under the State Court Lawsuit

 to recover solely against Debtor’s insurer.

          2.        On May 31, 2023, this Court issued its Order (I) Setting Bar Dates for Submitting

 Proofs of Claim, Including Requests for Payment Under Section 503(b)(9), (II) Establishing

 Amended Schedules Bar Date, Rejection Damages Bar Date, and Administrative Claims Bar Date,

 (III) Approving the Form, Manner, and Procedures for Filing Proofs of Claim, (IV) Approving

 Notice Thereof, and (V) Granting Related Relief [Dkt. No. 584] (the “Bar Date Order”).

          3.        On September 14, 2023, this Court issued its Findings of Fact, Conclusions of Law,

 and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the Second

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and Its Debtor Affiliates [Dkt. No.




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 2172] approving Debtors’ Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. And

 Its Debtor Affiliates (as may be modified, the “Plan”) [Docket No. 2160].

          4.        The Effective Date of the Plan occurred on September 29, 2023 [Dkt. No. 2311].

                          OBJECTION AND RESERVATION OF RIGHTS

          5.        As a threshold issue, Movant seeks to modify the automatic stay and plan injunction

 to pursue a claim against Debtor through her Motion. However, Movant has failed to file a proof

 of claim in the Debtors’ above-captioned cases.

          6.        The Bar Date Order established July 7, 2023 (the “General Claims Bar Date”), as

 the last date for each person or entity to submit a proof of claim against the Debtors.

          7.        The Bar Date Order states in no uncertain terms that:




 Bar Date Order ¶ 7.

          8.        Except for certain exclusions that are inapplicable here, the General Claims Bar

 Date applies to all claims against the Debtors that arose prior to April 23, 2023, including the

 Foster Claim. Because Movant’s claim arose prior to April 23, 2023, she was required to file a

 proof of claim by the General Claims Bar Date – and failed to do so.

          9.        Moreover, the confirmed Plan states, in relevant part, that:

          Any Claim or Interest that has been or is hereafter listed in the Schedules as
          contingent, unliquidated, or disputed, and for which no Proof of Claim is or has
          been timely Filed, is not considered Allowed and shall be expunged without further


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          action by the Debtors and without further notice to any party or action, approval, or
          order of the Bankruptcy Court.

 Plan, Art. I.A.14 (emphasis added).

          10.       Given Foster’s failure to timely file a proof of claim – the effect of this Court’s Bar

 Date Order, the Plan, and applicable law – the Foster Claim is barred. As such, Safety National

 requests that the requested relief be denied.

          11.       Even if Movant had filed a timely notice of claim (which she did not), the requested

 relief should, nevertheless, be denied.

          12.       Foster’s Motion seeks relief to pursue the Foster Claim and recover solely from the

 Debtor’s insurer. The Motion should be denied because no insurance exists.

          13.       Movant cannot recover under the Safety National general liability policy (“Policy”)

 issued to Debtors because any coverage under the Policy is subject to a $1 million self-insured

 retention per “occurrence” (“SIR”). The Policy expressly states that Safety National’s obligation

 to pay damages and “defense costs” on behalf of Debtor applies only to the portion of “Ultimate

 Net Loss” in excess of the $1 million SIR. The Policy states: “Satisfaction of the [SIR] amounts

 by [Debtor] is a condition precedent to [Safety National’s] liability for amounts in excess of the

 [SIR] regardless of insolvency or bankruptcy or inability to pay by [Debtor]” and that Debtor

 “make actual payment of all damages . . . and ‘defense costs’ for each ‘occurrence’” until Debtor

 has paid the $1 million SIR. Accordingly, Safety National has no obligations under the Policy for

 the Foster Claim unless and until Debtor makes actual payment of damages and “defense costs” in

 the amount of $1 million, subject to all other terms, conditions, and exclusions in the Policy. Thus,

 there is no coverage under the Policy if: (1) the Foster Claim is not worth more than $1 million;

 and/or (2) the Debtor does not make actual payment of $1 million to satisfy the SIR.




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          14.       While Safety National does not necessarily object to a motion to lift the Plan

 Injunction to liquidate the Foster Claim against Debtors, Safety National does object to any efforts

 to liquidate the Foster Claim to recover solely from the Debtors’ insurance as none exists.

                                     RESERVATION OF RIGHTS

          15.       As of the filing of this Objection, no proposed stipulation has been filed on the

 docket nor have the Debtors filed any objection to the Motion. Safety National will object to any

 stipulation or proposed order that attempts to modify the rights or defenses held by Safety National

 under the Policy, any applicable policy or contractual agreements between the Debtors and Safety

 National, the Bankruptcy Code, or other applicable law. Accordingly, Safety National hereby

 expressly reserves all of its rights, claims, counterclaims, defenses, and remedies under the

 Bankruptcy Code, the Policy, any applicable contractual agreements between the Debtors and

 Safety National, and other applicable law.

           WHEREFORE the reasons set forth above, Safety National respectfully requests the

 Motion be denied.

 Dated: October 26, 2023                         Respectfully Submitted,
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 26th day of October, 2023, a true and correct copy of Safety
 National’s Objection and Reservation of Rights has been electronically filed with the Court via the
 CM/ECF system and will be served by electronic means through the CM/ECF system to the below
 and to all registered CM/ECF participants.

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